                            UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF TN
                                     MIDDLE DIVISION

In Re: Dainon Tarquinius Sidney                          Case No. 10-01333-MFH

       Debtor(s),


OneWest Bank, FSB,                                       Chapter 13

       Movant,
                                                         Judge: Marian F. Harrison
Vs.

Dainon Tarquinius Sidney

Henry Edward Hildebrand, III, Trustee

       Respondent(s).



ORDER RESCHEDULING OBJECTION TO TRUSTEE’S MOTION TO DISALLOW CLAIM OF
                 ONEWEST BANK FSB COURT’S CLAIM #9



           This cause came to be heard on July 19, 2010 upon the objection of ONEWEST

  BANK, FSB to Trustee’s motion to disallow court claim:

           Upon oral objection made in open court, this matter shall be reset to August 2, 2010

  at 08:30 AM, Courtroom One, 2nd floor Customs House, 701 Broadway, Nashville, TN

  37203.


This order was signed and entered electronically as indicated at the top of the first page.


RESPECTFULLY SUBMITTED,


/s/ Bonnie Culp
Bonnie Culp #014741
Law Offices of Shapiro & Kirsch, LLP
Attorney for ONEWEST BANK, FSB



Case 3:10-bk-01333        Doc 63   Filed 07/20/10 Entered 07/20/10 09:59:26             Desc Main
                                   Document     Page 1 of 2
6055 Primacy Parkway, Ste. 410
Memphis, TN 38119
Phone: 615-738-8400
Fax: 901-767-8890
bculp@logs.com



Entities to be Served:


1.   Edgar M. Rothschild, III
     Rothschild & Associates PLLC
     1222 16th Ave S. Ste. 12
     Nashville, TN 37212


2.   Dainon Tarquinius Sidney
     605 Lakemeade Plate
     Old Hickory, TN 37138


3.   Henry Edward Hildebrand, III
     P.O. Box 190664
     Nashville, TN 37219




Case 3:10-bk-01333       Doc 63   Filed 07/20/10 Entered 07/20/10 09:59:26   Desc Main
                                  Document     Page 2 of 2
